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IN THE UNITED STATES DISTRICT YSURT
FOR THE WESTERN DISTRICT OF TEH§§EE =l‘
WESTERN DIVISION Efs PH 5

 

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HoME DESIGN sERvIcEs,

Plaintiff,
vs.

Civ. No. 03-2709-D P

SPARKMAN HOME BUILDERS,
et al.,

Defendants.

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ORDER GR.ANTING IN PART DEFEN'DANTS' MOTION FOR LEAVE TO TAKE
SUPPLEMENTAL DEP('JSITIONSl FOR EXTENSION OF TIME TO RESPOND TO
MO'I‘ION FOR SUM'.MARY JUDGMENT AN'.D TO EXTEN'D SCHEDULING ORDER

 

Before the court is defendants“ Motion for Leave to Take
Supplemental Depositions, for Extension. of Time to ‘Respond to
Motion for Summary Judgment and to Extend Scheduling Order, filed
July 15, 2005 (dkt #63). On July 25, 2005, the court held a
hearing on the motion. Counsel for all parties participated via
telephone. At the conclusion of the hearing, the court found good
cause to grant the motion in part as follows:

1. By no later than September 30, 2005, the defendants shall
complete the deposition. of James Zirkel relating to documents
produced by the plaintiff on July 5, 2005 (sales and transaction
summaries), and take the deposition of Minnie Meola. Defendants

may not depose Russell Kingman, as this witness was identified in

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Mr. Zirkel's March 22, 2005 deposition and defendants could have
noticed Mr. Kingman's deposition before the close of discovery.
The court further found that the July 5 document production did not
impede the defendants' ability to notice Mr. Kingman's deposition
before the close of discovery.

2. All parties shall have until October 31, 2005, to file new
dispositive motions or supplement existing dispositive motions.
With respect to plaintiff's pending motion for summary judgment,
this motion will be held in abeyance until October 31, at which
time the plaintiff may either file a new motion_ for summary
judgment in lieu of the pending motion, or supplement its existing
motion. The defendants will thereafter have 30 days to file a new
response to plaintiff's summary judgment motion, or supplement its
existing response.

3. The District Judge will notify the parties of the new

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TU M. PHAM
United States Magistrate Judge

trial date.

IT IS SO ORDERED.

T\»L»\ Qc. mr
Date

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:03-CV-02709 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

